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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

RADHA GEISMANN, M.D., P.C.,                    )
individually and on behalf of all others       )
similarly-situated,                            )
                                               )
                                                     Cause No: 4:19-cv-00676 HEA
               Plaintiff,                      )
       v.                                      )
                                               )
POS-T-VAC, LLC, and JOHN DOES 2-10,            )
                                               )
               Defendants.                     )

   PLAINTIFF’S DISMISSAL OF INDIVIDUAL CLAIMS WITH PREJUDICE OF ITS
               CLAIMS AGAINST DEFENDANT POS-T-VAC, LLC

       Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(ii), Plaintiff, RADHA GEISMANN M.D.,

P.C., with consent of Defendant, POS-T-VAC, LLC, hereby dismisses its individual claims

against Pos-T-Vac, LLC with prejudice. No notice needs to be issued to the putative class under

Rule 23, because there has been no finding that this action can proceed as a class action, and no

class has been certified herein. Each party shall bear their own costs.

                                                   Respectfully submitted,

                                                   MARGULIS LAW GROUP

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                                                   ATTORNEYS FOR PLAINTIFF,
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                                                       And:

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                                                       ATTORNEYS FOR DEFENDANT POS-T-
                                                       VAC, LLC




                                  CERTIFICATE OF SERVICE


       I hereby certify that on December 9, 2020, I electronically filed the foregoing Joint

Stipulation of Dismissal with the Clerk of the Court using the CM/ECF system which will send

notification of such filings to all counsel of record.



                                                         /s/ Max G. Margulis
                                                         Max G. Margulis




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